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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


JASPER WIRTSHAFTER, et al.,                         )
                                                    )
                             Plaintiffs,            )
                                                    )
                        v.                          )       No. 1:24-cv-00754-RLY-MJD
                                                    )
THE TRUSTEES OF INDIANA UNIVERSITY,                 )
et al.,                                             )
                                                    )
                             Defendants.            )




                         MINUTE ENTRY FOR JULY 10, 2024
                   TELEPHONIC INITIAL PRETRIAL CONFERENCE
                   HON. MARK J. DINSMORE, MAGISTRATE JUDGE


       The parties appeared by counsel for a telephonic Initial Pretrial Conference. The Court

will approve the Case Management Plan, by separate order, with the changes to which the parties

have agreed.

       This matter is scheduled for a telephonic status conference on Monday, August 19, 2024

at 4:00 p.m. (Eastern) to discuss case status. Counsel shall attend the status conference by

calling the designated telephone number, to be provided by the Court via email generated by the

Court's ECF system.

       In addition, this matter is scheduled for a settlement conference on Friday, November

15, 2024 at 9:00 a.m. (Eastern), in Room 277, United States Courthouse, 46 East Ohio Street,

Indianapolis, Indiana, before Magistrate Judge Mark J. Dinsmore.

       Unless excused by order of the Court, clients or client representatives with complete

authority to negotiate and communicate a settlement shall attend the settlement conference
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along with their counsel. This requires the presence of each party, or the authorized

representative of each corporate, governmental, or other organizational entity. Any legal entity

and/or any insurance company that is a party, or is contractually required to defend or indemnify

any party, in whole or in part, must have a fully authorized settlement representative present at

the conference. That representative must have final settlement authority to commit the company

to pay, in the representative's own discretion, the amount of Plaintiff(s)' most recent demand, or

in the case of the representative of an insurance company that is not a party, the total amount

within any policy limits, if such amount is lower than Plaintiff(s)' most recent demand; such

representative may not be counsel of record for a party in the matter. 1 The purpose of this

requirement is to have in attendance a representative who has the authority to exercise discretion

to settle the case during the settlement conference without consulting someone else who is not

present.

         In addition, unless excused by written order of the Court, every individual party,

and an officer (President, Vice President, Treasurer, Secretary, CFO, CEO or COO) of

every corporate entity that is a party, shall attend the settlement conference.

         No other persons are permitted to attend the settlement conference without leave of

Court.

         On or before November 12, 2024, the parties shall submit (not file) a confidential

settlement statement setting forth a brief statement of: (1) relevant facts, including any key


1
   A representative of a corporate party or an insurance company who has any predetermined limits upon the extent
of their authority to resolve this matter fails to satisfy this requirement. The purpose of this requirement is to ensure
that each legal entity and insurance company participating in the proceeding has present a representative who can
listen to the arguments and other discussion which take place during the settlement conference and make a full and
independent determination regarding the appropriate settlement value of the case without reference to any person or
group of persons not present at the settlement conference and who can articulate the reasons for such determination
to the Court based upon their sole and independent judgment.
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facts that the party believes are admitted or in dispute; (2) damages, including any applicable

back pay, mitigation, compensatory and/or punitive damages, or any other special damages; (3)

the existence of any applicable liens; and (4) any pending or anticipated dispositive or other

substantive motions and citation to controlling precedent in support of their respective legal

positions. The confidential settlement statement should not exceed five pages, and submission of

exhibits should be kept to a minimum. Confidential settlement statements should be

submitted via email to MJDinsmore@insd.uscourts.gov. There is no need to follow any

email submission with a hard copy.

       No later than October 25, 2024, Plaintiff(s) shall serve an updated settlement

demand on Defendant(s), which demand shall include a breakdown of any special damages

sought by Plaintiff(s), as well as a detailed explanation of the basis for any other amounts

claimed in the demand (the "Demand"). The Demand should represent the actual initial good

faith negotiating position of the Plaintiff(s) at the time it is made. No later than November 8,

2024, Defendant(s) shall serve a good faith response to the Demand. Such response should

represent the actual initial good faith negotiating position of the Defendant(s) at the time it is

made. The parties shall submit (not file) courtesy copies of their respective demand and

response to the Court at the time of service. These should be emailed to the Magistrate

Judge at MJDinsmore@insd.uscourts.gov.

       If, after the making of the demand and/or offer set forth above, an event occurs or

information is discovered that materially alters the settlement position of any party, then a

revised demand and/or offer shall be immediately proffered and any other confidential

submissions to the Court that may be required in light of such altered settlement position(s) shall

be immediately made.
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       If there exist any liens or potential liens upon Plaintiff(s)' potential recovery, Plaintiff(s)'

counsel shall fully inform themselves of the nature and amount of all such liens and shall

undertake to negotiate a resolution of such liens in advance of the settlement conference and

shall make arrangements to be in telephonic communication with representatives of any such

lienholders during the course of the settlement conference for the purpose of negotiating a final

resolution of any such liens.

       The parties are instructed to jointly prepare and submit (not file) a draft settlement

agreement, noting any disagreement by the parties. The agreement in question should represent,

to the extent possible in the circumstances, the final written agreement intended by the parties

to resolve the case and should contain all material provisions that any party believes should be

contained within such document, such that the settlement agreement proposed can be executed in

full and final settlement of the matter at the successful conclusion of the settlement conference.

The draft settlement agreement shall be emailed to the Magistrate Judge in Word format

at MJDinsmore@insd.uscourts.gov no later than November 12, 2024.

       Counsel for the parties shall immediately notify their clients and any other necessary

participants of the date of the settlement conference, and any request to vacate or continue the

settlement conference must be made by motion filed with the Court on or before July 25, 2024,

except in exigent circumstances. These motions will be granted only for good cause.

       Failure to comply with any of the provisions in this Order may result in sanctions.



       Dated: 11 JUL 2024
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Distribution:

Service will be made electronically
on all ECF-registered counsel of record via
email generated by the Court's ECF system.
